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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             12/7/2020
AQUAVIT PHARMACEUTICALS, INC.,                                 :
                                                               :   19-CV-3351 (VEC) (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
U-BIO MED, INC., et al.,                                       :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This Order resolves issues raised in the parties’ status report filed on December

2, 2020. (Dkt. 202.)

        1.       Defendants’ protestations and proffered excuses for not timely complying

with sanctions-related discovery are not well taken. On September 3, 2020, the parties

filed a joint proposal for discovery to be produced by September 28, 2020. The Court

adopted the proposal in full on September 4, 2020. The concerns raised by Defendants

now would have existed previous to the joint proposal. Defendants did not raise them

then; they may not raise them now. Defendants’ after-the-fact proposal and request that

discovery on contempt now be scheduled to run concurrently with merits discovery is

denied.

        2.       Defendants shall fully comply with Plaintiff’s sanctions-related discovery

demands no later than December 16, 2020. Failure to do so will result in discovery

sanctions, including preclusion of any later admission of such material offered by

Defendants, and the drawing of inferences adverse to Defendants on the subject matter

of that discovery.




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       3.     Briefing on the sanctions-related issues (including not only compensatory

sanctions, but also regarding the deletion of an Instagram account) shall proceed as

follows. Conforming with the briefing period set forth in the proposal adopted by the Court

on September 4, 2020, Plaintiff shall file its opening papers by January 11, 2021.

Defendants shall file any responding papers by February 1, 2021. Plaintiff shall file any

reply by February 8, 2021.

       4.     Although the merits discovery deadline has expired, the parties shall meet

and confer to discuss a schedule for any remaining merits discovery and shall file a joint

letter setting forth their proposal(s) by December 21, 2020. The Court expects that any

remaining period should be relatively brief.

                                          SO ORDERED.



                                          _______________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE

Dated: December 7, 2020
       New York, New York

Copies transmitted this date to all counsel of record.




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